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EXHIBIT 5

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24

25

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May 03, 2018

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO. 1:17-cv-60426-UU

ALEKSEJ GUBAREV, XBT HOLDING
S.A., AND WEBZILLA, INC.,

Plaintiff,

-<vs-

BUZZFEED, INC. AND BEN SMITH,

Defendant.

VIDEOTAPED

DEPOSITION
OF

KOSTYANTYN BEZRUCHENKO

May 3, 2018
10:06 a.m. - 5:28 p.m.
201 S. Biscayne Boulevard, Suite 1300
Miami, Florida 33131

Stenographically Reported By:
SHARON VELAZCO, RPR
Registered Professional Reporter

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1 A. No. Evgeniy Bogachev -- I don't know him.

2 Pavel Vrublevsky --

3 Q. We talked about him.

4 A. Yes.

5 We talked about Vladimir Fomenko. I don't know
6 | him.

7 Vitaly Korchagin, I don't know him.

8 0. Do you know of him?

9 A. Hmm?

10 Q. Do you know of him?
11 A. No, I don't know him.
12 Panagiotis Kouvatsos -- I know him.

13 Q. And who is he?

14 A. He was -- once he was employee of our company,

15 | and was marketing. And he was also doing some work for

16 | Aleksej, as far as I remember, for AVM Open --

17 MR. FRAY-WITZER: AWM.

18 THE WITNESS: Yeah, AWM Open. Yeah.

19 And he served -- he worked in our company as
20 marketing person.

21 | BY MS. BOLGER:

22 Q Okay.

23 A I know this website. FUBARWebmasters.
24 Q. Yeah. Do you know what that 1s?

25 A Yes.

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1 Q. What is it?
2 A. That's the website of the guy who went from --
3 |probably some of the adult conferences and made the

4 |photos. He was photographer.

5 Q. Do you know what FUBAR means?
6 A. No.
7 What does it means?
8 Q. I'll tell you offline.
9 A. Okay.
10 I know the -- Nikolai McColo.
11 Q. And who is that?
12 A. He was -- he was owner of a hosting company named

13 | the same way, McColo.

14 Q. And have you all had any interactions with him?
15 A. I believe I met him once on Cyprus, in the AW
16 | Open conference in 2004, probably.

17 Konstantin Poltev or Kokach -- no, I don't know

18 | this name or nickname.

19 Q. Okay.

20 A Anton Titov, I know this person.

21 Q. And who is that?

22 A He was our customer in -- he still is our

23 |customer, sure.
24 Q. What does he do?

25 A. He has some -- some -- he is a customer for our

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Kostyantyn Bezruchenko

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1 CERTIFICATE OF REPORTER
2
3 | STATE OF FLORIDA
4 | COUNTY OF MIAMI-DADE
5
6 I, SHARON VELAZCO, Registered Professional

7 | Reporter, certify that I was authorized to and did

8 | stenographically report the deposition of KOSTYANTYN

9 | BEZRUCHENKO; that a review of the transcript was not
10 | requested; and that the transcript is a true record of my
11 | stenographic notes.
12 I further certify that I am not a relative,

13 | employee, attorney, or counsel of any of the parties, nor
14 |}am I a relative or employee of any of the parties'

15 | attorneys or counsel connected with the action, nor am I

16 | financially interested in the action.

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18 Dai. at Fpis 8t ayjof May, 2018
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‘apa a |
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SHARON VELAZCO, RPR “raul
21 Registered Professional Reporter
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